     Case 2:19-cv-02121-MWF-JC Document 111 Filed 12/20/21 Page 1 of 6 Page ID #:6353



1      Griselda S. Rodriguez, Esq., State Bar No. 303049
       Grodlaw.apc@gmail.com
2      G-ROD LAW, A.P.C.
       2660 Townsgate Road, Suite 400
3      Westlake Village, California 91361
       Telephone Number: (805) 275-4000
4
       Carney R. Shegerian, Esq., State Bar No. 150461
5      CShegerian@Shegerianlaw.com
       Anthony Nguyen, Esq., State Bar No. 259154
6      ANguyen@Shegerianlaw.com
       Mahru Madjidi, Esq., State Bar No. 297906
7      MMadjidi@Shegerianlaw.com
       Griselda S. Rodriguez, Esq., State Bar No. 303049
8      GRodriguez@Shegerianlaw.com
       SHEGERIAN & ASSOCIATES, INC.
9      145 South Spring Street, Suite 400
       Los Angeles, California 90012
10     Telephone Number: (310) 860-0770
       Facsimile Number: (310) 860-0771
11
       Attorneys for Plaintiff,
12     MARCELLUS McMILLIAN
13
       (additional counsel on next page)
14

15                          UNITED STATES DISTRICT COURT
16                         CENTRAL DISTRICT OF CALIFORNIA
17

18     MARCELLUS McMILLIAN,                     Case No.: 2:19-cv-02121-MWF-JCx
19                                              The Honorable Michael W. Fitzgerald
             Plaintiff,
20                                              JOINT PROPOSED STATEMENT OF
       vs.                                      THE CASE
21
       GOLDEN STATE FC LLC,                     Trial: February 1, 2022
22     AMAZON FULFILLMENT                       Time: 8:30 a.m.
       SERVICES, INC., AMAZON.COM               Ctrm.: 5A
23     SERVICES, INC., AMAZON.COM,
       INC., and DEVON FRANKLIN,                FPC: January 10, 2022
24                                              Time: 11:00 a.m.
                                                Ctrm.: 5A
25
             Defendants.                        Action Filed: January 11, 2019
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                                JOINT PROPOSED STATEMENT OF THE CASE
     Case 2:19-cv-02121-MWF-JC Document 111 Filed 12/20/21 Page 2 of 6 Page ID #:6354



1      MORGAN, LEWIS & BOCKIUS LLP
       Barbara A. Fitzgerald, SBN 151038
2      barbara.fitzgerald@morganlewis.com
       300 South Grand Avenue, Twenty-Second Floor
3      Los Angeles, CA 90071-3132
       Tel: 213.612.2500
4      Fax: 213.612.2501
5      MORGAN, LEWIS & BOCKIUS LLP
       Ethel J. Johnson, pro hac vice pending
6      ethel.johnson@morganlewis.com
       1000 Louisiana St., Suite 4000
7      Houston, TX 77002-5006
       Tel: 1.713.890.5191
8      Fax: +1.713.890.5001
9
       MORGAN, LEWIS & BOCKIUS LLP
10
       Alexander L. Grodan, SBN 261374
       alexander.grodan@morganlewis.com
11
       600 Anton Boulevard, Suite 1800
       Costa Mesa, CA 92626-7653
12
       Tel: 714.830.0600
       Fax: 714.830.0700
13
       Attorneys for Defendants
14
       GOLDEN STATE FC LLC, AMAZON
       FULFILLMENT SERVICES, INC.,
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       AMAZON.COM SERVICES, INC.,
       AMAZON.COM, INC.
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                                JOINT PROPOSED STATEMENT OF THE CASE
     Case 2:19-cv-02121-MWF-JC Document 111 Filed 12/20/21 Page 3 of 6 Page ID #:6355



1           Plaintiff Marcellus McMillian (“Plaintiff”) and Defendants Golden State FC LLC,
2      Amazon Fulfillment Services, Inc., Amazon.com Services, Inc., and Amazon.com, Inc.
3      (collectively, “Defendants”) (together, the “Parties”) jointly submit the following
4      Proposed Statement of the Case to be read to the prospective jury panel in the above
5      case, set to begin on February 1, 2022, at 8:30 a.m., before the Honorable Michael W.
6      Fitzgerald, in Courtroom 5A of this Court, at 312 North Spring Street, Los Angeles,
7      California 90012.
8

9      Dated: December 20, 2021       SHEGERIAN & ASSOCIATES, INC.
10

11                                    By: s/Mahru Madjidi
                                          Mahru Madjidi, Esq.
12
                                           Attorneys for Plaintiff,
13                                         MARCELLUS McMILLIAN
14
       Dated: December 20, 2021         MORGAN, LEWIS & BOCKIUS LLP
15

16
                                        By s/ Alexander L. Grodan
17                                         Barbara A. Fitzgerald
                                           Ethel J. Johnson
18                                         Alexander L. Grodan
                                           Attorneys for Defendants
19                                         GOLDEN STATE FC LLC, et al.
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                               JOINT PROPOSED STATEMENT OF THE CASE
     Case 2:19-cv-02121-MWF-JC Document 111 Filed 12/20/21 Page 4 of 6 Page ID #:6356



1                           PROPOSED STATEMENT OF THE CASE
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3            This case involves plaintiff Marcellus McMillian’s claims against the defendants,
4      Golden State FC LLC, Amazon Fulfillment Services, Inc., Amazon.com Services, Inc.,
5      and Amazon.com, Inc, which Plaintiff alleges are his former employers. Defendants
6      contend that Plaintiff was employed by only Golden State FC, LLC.
7            Plaintiff began his employment on or around January 11, 2017. Around August 3,
8      2017, Plaintiff alleges he was in a car accident and suffered from a physical disability as
9      a result of that car accident. Plaintiff contends that during his employment, Defendants
10     failed to accommodate him, discriminated against him because of his physical disability,
11     and retaliated against him because of his physical disability, requests for
12     accommodation, and taking a medical leave, and that he was wrongfully terminated.
13     Plaintiff’s employment was terminated on May 5, 2018.
14           Plaintiff asserts claims for failure to accommodate, failure to engage in the
15     interactive process, disability discrimination, retaliation, wrongful termination in
16     violation of public policy, and negligent hiring, retention, and supervision.     Plaintiff
17     alleges that he has suffered monetary and non-monetary damages.
18           Defendants contend Plaintiff was afforded all leave accommodations for which he
19     provided the appropriate supporting documentation and engaged in the interactive
20     process to assess and provide those accommodations, as appropriate, and, as such, did
21     not engage in any discriminatory or retaliatory conduct and did not wrongfully terminate
22     Plaintiff’s employment. Defendants also contend that they did not negligently hire,
23     supervise or retain any employee at issue. Defendants further contend that they did not
24     cause Plaintiff any damages, and they contest the amount of damages Plaintiff is
25     claiming.
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                              PLAINTIFF’S PROPOSED STATEMENT OF THE CASE
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1      Dated: December 20, 2021      SHEGERIAN & ASSOCIATES, INC.
2

3                                    By: s/Mahru Madjidi
                                         Mahru Madjidi, Esq.
4
                                           Attorneys for Plaintiff,
5                                          MARCELLUS McMILLIAN
6

7

8      Dated: December 20, 2021                  MORGAN, LEWIS & BOCKIUS LLP
9

10                                                By s/ Alexander L. Grodan
                                                     Barbara A. Fitzgerald
11                                                   Ethel J. Johnson
                                                     Alexander L. Grodan
12                                                   Attorneys for Defendants
                                                     GOLDEN STATE FC LLC, et al.
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                            PLAINTIFF’S PROPOSED STATEMENT OF THE CASE
     Case 2:19-cv-02121-MWF-JC Document 111 Filed 12/20/21 Page 6 of 6 Page ID #:6358



1      McMILLIAN v. GOLDEN STATE FC, et al. USDC Case No. 2:19-cv-02121-MWF-JCx
2                                     PROOF OF SERVICE
3                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4           I am an employee in the County of Los Angeles, State of California. I am over the
       age of 18 and not a party to the within action; my business address is 145 South Spring
5      Street, Suite 400, Los Angeles, California 90012.
6           On December 20, 2021, I served the foregoing document, described as “JOINT
       PROPOSED STATEMENT OF THE CASE” on all interested parties in this action by
7      placing true copies thereof in sealed envelopes, addressed as follows:
8      Barbara A. Fitzgerald, Esq.                  Ethel J. Johnson, Esq.
       Barbara.Fitzgerald@morganlewis.com           ethel.johnson@morganlewis.com
9      MORGAN, LEWIS & BOCKIUS LLP                  MORGAN, LEWIS & BOCKIUS LLP
       300 South Grand Avenue, 22nd Floor           One Market, Spear Street Tower
10     Los Angeles, California 90071                San Francisco, California 94105
11     Alexander L. Grodan, Esq.
       Alexander.Grodan@morganlewis.com
12     MORGAN, LEWIS & BOCKIUS LLP
       600 Anton Boulevard, Suite 1800
13     Costa Mesa, California 92626
14           BY CM/ECF NOTICE OF ELECTRONIC FILING I electronically filed the
             document(s) with the Clerk of the Court by using the CM/ECF system.
15           Participants in the case who are registered CM/ECF users will be served by the
             CM/ECF system. Participants in the case who are not registered CM/ECF users
16           will be served by mail or by other means permitted by the court rules.
17           (FEDERAL) I declare that I am employed in the office of a member of the bar of
             this Court at whose direction the service was made. I declare, under penalty of
18           perjury under the laws of the United States of America, that the above is true and
             correct.
19
            Executed on December 20, 2021, at Los Angeles, California.
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22                                                 Jose Castro
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